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                         EXHIBIT 1
Case 1:22-cv-10904-JSR Document 187-1 Filed 06/15/23 Page 2 of 34
         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   6/*5&%45"5&4%*453*$5$0635
     '035)&4065)&3/%*453*$50'/&8:03,

     (07&3/.&/50'5)&6/*5&%
   45"5&47*3(*/*4-"/%4
     
   1MBJOUJGG 
     
   WT DW+43
     
   +1.03("/$)"4&#"/, /" 
     
   %FGFOEBOU5IJSE
     1BSUZ1MBJOUJGG
   @@@@@@@@@@@@@@@@@@@@@@@@@
     +1.03("/$)"4&#"/, /"
   
     5IJSE1BSUZ
   1MBJOUJGG 
     
   WT
     
   +".&4&%8"3%45"-&: 
     
   5IJSE1BSUZ
     %FGFOEBOU

     '3*%": .": 

     $0/'*%&/5*"-16346"/5501305&$5*7&03%&3

       $0/'*%&/5*"-#4"1035*0/46/%&34&1"3"5&$07&3
   ooo
   7JEFPUBQFEEFQPTJUJPOPG+BNFT
     %JNPO IFMEBUUIFPGGJDFTPG+1.PSHBO$IBTF
   .BEJTPO"WFOVF /FX:PSL /FX:PSL
     DPNNFODJOHBUBN&BTUFSO POUIFBCPWF
   EBUF CFGPSF$BSSJF"$BNQCFMM 3FHJTUFSFE
     %JQMPNBUF3FQPSUFSBOE$FSUJGJFE3FBMUJNF
   3FQPSUFS

   ooo
   (0-,08-*5*("5*0/4&37*$&4
     QI]GBY
   EFQT!HPMLPXDPN


(PMLPX-JUJHBUJPO4FSWJDFT                                          1BHF
Case 1:22-cv-10904-JSR Document 187-1 Filed 06/15/23 Page 3 of 34
         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   BEFGFSSFEQSPTFDVUJPOBHSFFNFOUJT
   .3#65540CKFDUJPO
   :PVNBZBOTXFS
   5)&8*5/&44(FOFSBMMZ ZFT
   26&45*0/4#:.346--*7"/
   2"OEUIBUNFBOTUIBUZPV
   FTTFOUJBMMZQMFBEHVJMUZ CVUUIFZEPOhUEP
   BOZUIJOHFYDFQUUBLFZPVSNPOFZGPSBOVNCFS
   PGZFBST#VUJGZPVEPJUBHBJO JUhT
   NPSFUIFZDBOQSPTFDVUFZPVGPSUIF
   PSJHJOBMNBUUFS
   %PZPVVOEFSTUBOEUIBU
   .3#65540CKFDUJPO
   :PVNBZBOTXFS
   5)&8*5/&44*hNOPUBMBXZFS
   CVUHFOFSBMMZ*VOEFSTUBOEJUUIBU
   XBZ ZFT
   26&45*0/4#:.346--*7"/
   2.PTUPGVTMBXZFSTEPOhU
   VOEFSTUBOEJU*UhTXIBUJUJT
   .346--*7"/5IBOLZPV TJS
   5IBUhTBMM*IBWF
   .3#65545IBOLZPV
   .346--*7"/)BWFBHPPEEBZ
   /JDFIPMJEBZ*IBWFUPHP*IBWFB



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         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   USJBM.POEBZ5BLFDBSF
   .3#65544PVOETMJLFOP
   IPMJEBZGPSZPV
   .4'3*&%."/4IPVMEXFUBLFB
   CSFBL
   .3#6554:FBI MFUhTEP
   7*%&0(3"1)&38FhSFHPJOHPGG
   SFDPSE5IFUJNFJT
    0GGUIFSFDPSEBUBN
   7*%&0(3"1)&38FhSFHPJOHCBDL
   POSFDPSE5IFUJNFJT
   %*3&$5&9".*/"5*0/
   26&45*0/4#:.44*/(&3
   2(PPENPSOJOH .S%JNPO.Z
   OBNFJT-JOEB4JOHFS*XPVMEMJLFUPTBZ*
   CSJOHEPXOUIFBWFSBHFBHFPGUIFFYBNJOFST
   POPVSTJEF CVU*EPOhULOPXUIBUUIBUhT
   USVF BDUVBMMZ TP*hNHPJOHUPTLJQUIBU
   *EPOhUUIJOLXFEJEUIJTBU
   UIFPVUTFU TPDPVMEZPVTUBUFZPVSQPTJUJPO
   GPSUIFSFDPSE QMFBTF
   "*BNDIBJSNBOBOEDIJFG
   FYFDVUJWFPGGJDFSPG+1.PSHBO$IBTF
   2"OEXIFSFHFOFSBMMZEPZPV
   SFTJEF



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         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   "/FX:PSL$JUZ
   2"OEEPZPVIBWFBOZQMBOTPG
   NPWJOHZPVSSFTJEFODFCFUXFFOOPXBOE
   /PWFNCFSPG
   "/P
   28IFOEJEZPVGJSTUMFBSOUIBU
   +FGGSFZ&QTUFJOXBTBDVTUPNFSPG+1.PSHBO
   "*EPOhUSFDBMMLOPXJOHBOZUIJOH
   BCPVU+FGGSFZ&QTUFJOVOUJMUIFTUPSJFTCSPLF
   TPNFUJNFJO"OE*XBTTVSQSJTFEUIBU*
   EJEOhUFWFOIBEOFWFSFWFOIFBSEPGUIF
   HVZ QSFUUZNVDI BOEIPXJOWPMWFEIFXBT
   XJUITPNBOZQFPQMF
   28FSFZPVBXBSFUIBU+FGGSFZ
   &QTUFJOXBTQSPNPUJOHZPVUPDPOUBDUTBTB
   DBOEJEBUFGPS4FDSFUBSZPGUIF5SFBTVSZ
   .3#65540CKFDUJPO
   :PVNBZBOTXFS
   5)&8*5/&44/PQF
   26&45*0/4#:.44*/(&3
   28FSFZPVBXBSFUIBU+1.PSHBO
   FOUFSFEJOUPBTFUUMFNFOUPSTFUUMFNFOUTXJUI
   +FGGSFZ&QTUFJO
   "/PUVOUJMSFDFOUMZ OP
   28IFOEJEZPVMFBSOUIBU



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         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   2"OEXIBUEJEZPVSFMZPOUP
   TUBUFUIBU+1.PSHBOEJEOPUIBWF
   DPOUFNQPSBOFPVTLOPXMFEHFPG&QTUFJOhT
   PGGFOTFT
   .3#65540CKFDUJPO
   5)&8*5/&44*EJEOhUTBZ
   UIBU
   26&45*0/4#:.44*/(&3
   20LBZ:PVEJETBZIJOETJHIUJT
   GBCVMPVT DPSSFDU
   "*EJE
   20LBZ4PQSJPSUPZPVS
   JOUFSWJFX XIBUJOGPSNBUJPOEJEZPVIBWF
   BCPVUXIBU+1.PSHBOLOFXPSEJEOhULOPXBCPVU
   +FGGSFZ&QTUFJOBOE+1.PSHBOhTIBOEMJOHPG
   IJTBDDPVOUT
   .3#65540CKFDUJPO"OE
   *hMMJOTUSVDUZPVOPUUPBOTXFSUPUIF
   FYUFOUUIBUBOZLOPXMFEHFDPNFTGSPN
   DPVOTFM
   5)&8*5/&44*LOFXWFSZ
   MJUUMFBCPVUBOZPGUIJTVOUJMUIJT
   DBTFXBTPQFOFE"OEUIFOPGDPVSTF
   *hWFMFBSOFERVJUFBCJUTJODFUIFO





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         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   26&45*0/4#:.44*/(&3
   20LBZ4PJONBLJOHZPVS
   DPNNFOUUIBUIJOETJHIUJTGBCVMPVT XIBU
   JOGPSNBUJPOIBEZPVSFWJFXFEBCPVUXIBU
   +1.PSHBOLOFXPSEJEOhULOPXBCPVUJUT
   IBOEMJOHPG+FGGSFZ&QTUFJOhTCVTJOFTT
   .3#65540CKFDUJPO
   "OEUIFTBNFDBVUJPO ZPV
   TIPVMEOPUSFWFBMBOZJOGPSNBUJPOZPV
   SFWJFXFEJOUIFDPOUFYUPGEJTDVTTJPOT
   XJUIDPVOTFM
   5)&8*5/&448FMM *NFBO
   BMNPTUBMMPGJUXBTEPOFJO
   DPOTVMUBUJPOXJUIDPVOTFM
   .3#65545IFOZPVDBOhU
   BOTXFSUIFRVFTUJPO
   5)&8*5/&440LBZ
   26&45*0/4#:.44*/(&3
   20UIFSUIBODPOWFSTBUJPOTXJUI
   ZPVSMBXZFST XIJDI*OFWFSNFBOGPSZPVUP
   SFWFBM OPSXPVME.S#VUUTBMMPXZPV EJE
   ZPVIBWFBOZLOPXMFEHFPGXIBU+1.PSHBOIBE
   EPOFPSLOFXBCPVU+FGGSFZ&QTUFJOQSJPSUP
   ZPVSJOUFSWJFXXJUI$//
   .3#65540CKFDUJPO



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         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   :PVNBZBOTXFS
   5)&8*5/&44*EPOhUSFDBMM
   UIFTQFDJGJDLOPXMFEHF*IBECFGPSF*
   TBUEPXOXJUIDPVOTFMSFMBUJOHUP
   UIFTFMBXTVJUT
   26&45*0/4#:.44*/(&3
   2"OE
   ""OEUIBUXBTBGUFS*TBUEPXO
   XJUIDPVOTFM
   .3#65545IFJOUFSWJFXXBT
   BGUFS
   5)&8*5/&445IFJOUFSWJFXXBT
   BGUFS*TQFOUDPOTJEFSBCMFUJNFXJUI
   DPVOTFM
   26&45*0/4#:.44*/(&3
   2"OEBQBSUGSPNZPVSQSFQBSBUJPO
   JODPOOFDUJPOXJUIUIJTMJUJHBUJPO IPXNVDI
   UJNFIBWFZPVTQFOUQFSTPOBMMZMPPLJOHBUUIF
   CBOLhTDPOEVDUXJUISFTQFDUUP+FGGSFZ
   &QTUFJO
   .3#65540CKFDUJPOUPGPSN
   5)&8*5/&44#FGPSFUIFTF
   MBXTVJUTBOEUIFUJNFXJUIDPVOTFM
   WFSZMJUUMF





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         $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

   "/P
   20LBZ
   .3#6554"SFZPVGJOJTIFE
   XJUIUIJTEPDVNFOU
   .44*/(&3:FT JGZhBMMXBOU
   BCSFBL
   .3#6554)PMEPO*UIJOL
   JUhTCFFOBOIPVS*UhT
   8IBUhTEPZPVXBOU
   5)&8*5/&44*FBUBU TP
   MFUhTHPSJHIUUPMFUhTXBJUVOUJM
   UPFBUMVODI
   .3#6554:FBI UIFSFJUJT
    %JNPO&YIJCJUNBSLFEGPS
   JEFOUJGJDBUJPO
   26&45*0/4#:.44*/(&3
   20LBZ"MMSJHIU-FUhTHPUP
   &YIJCJU XIJDIJTHPJOHUPCF
   +1.4%/:-*5
   "MMSJHIU5IJTEPDVNFOUJTBO
   FNBJMCFUXFFO+FT4UBMFZBOE+FGGSFZ
   &QTUFJO DPSSFDU
   ":FT
   20LBZ"OEJUhTEBUFE
   "VHVTU  BUUIFWFSZUPQ DPSSFDU



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    ":FT
    21SJPSUPZPVSQSFQBSBUJPOGPS
    UIJTEFQPTJUJPO IBEZPVTFFOUIJTFNBJM
    CFGPSF
    "/P
    2"OEJGXFHPUPUIFNJEEMFPG
    UIJTFNBJM +FT4UBMFZJOEJDBUFTUP+FGGSFZ
    &QTUFJO #BDLJOUIFTBEEMF.POEBZJO-POEPO
    XJUI+BNJFNJEXFFL
    %PZPVSFDBMMBUSJQUP+FT
    4UBMFZBUSJQUP-POEPOXJUI+FT4UBMFZJO
    "VHVTUPS4FQUFNCFS
    "%P*SFDBMMJU MJLF CBDL
    UIFO OP CVUBTBQBSUPGQSFQBSJOHGPS
    UIJT"OENZSFDPSETBSFLOPXO TPZPVHVZT
    DBOKVTUDIFDL
    "OE*UIJOL*XFOUUIFSFGPSB
    CJHDPOGFSFODF OPUGPS+FT
    20LBZ#VUZPVEPOhUIBWFBO
    JOEFQFOEFOUSFDPMMFDUJPOPGBUSJQUP-POEPO
    UIBU+FT4UBMFZXBTBMTPPOJO"VHVTU
    DPSSFDU
    "$PSSFDU
    20LBZ"UUIFUPQPGUIF*hN
    TPSSZ5PXBSETUIFUPQPGUIFFNBJM



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    +FGGSFZ&QTUFJOBTLFE+FT4UBMFZ )PXMPOH
    -POEPO %PZPVOFFEBOZUIJOHUIFSF 
    "OE+FT4UBMFZSFTQPOET :FQ
    )BWF*SFBECPUIPGUIPTF
    TFHNFOUTDPSSFDUMZ
    ":FT
    28FSFZPVBXBSFPGUIJT
    JOUFSBDUJPOCFUXFFO*hNTPSSZ8FSFZPV
    BXBSFPG*hNHPJOHUPUSZPOFNPSFUJNFPO
    UIJTPOF
    "SFZPVDVSSFOUMZBXBSFPGXIBU
    IBQQFOFECFUXFFO+FGGSFZ&QTUFJOBOE+FT
    4UBMFZXJUISFHBSETUPUIJTFNBJM
    .3#6554"OEJTUIFRVFTUJPO
    BCPVUZPVSDVSSFOUBXBSFOFTT
    5)&8*5/&44*hNOFJUIFS
    DVSSFOUMZBXBSF OPSXBT*CBDLUIFO
    26&45*0/4#:.44*/(&3
    20LBZ4PZPVEPOhULOPXXIBU
    UIJTFYDIBOHFSFGFSTUP EPZPV
    .380)-(&.65)0CKFDUJPO
    5)&8*5/&448IPPCKFDUFE
    .3#65545IBUhTUIBUhT
    UIBUhTSJHIU:PVDBOBOTXFSUIF
    RVFTUJPO5IBUhT.S4UBMFZhT



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    DPVOTFM
    5)&8*5/&440I
    3FQFBUUIFRVFTUJPO
    26&45*0/4#:.44*/(&3
    2:FT
    %PZPVIBWFBOZVOEFSTUBOEJOH
    PGXIBUUIJTFNBJMFYDIBOHFCFUXFFO+FGGSFZ
    &QTUFJOBOE+FT4UBMFZSFGFSTUP
    .380)-(&.65)0CKFDUJPO
    5)&8*5/&44/P
    26&45*0/4#:.44*/(&3
    28FSFZPVBXBSFPGBSFZPV
    DVSSFOUMZBSFZPVDVSSFOUMZBXBSFUIBU
    +FGGSFZ&QTUFJOUSBOTGFSSFE UPBXPNBO
    OBNFE         PO"VHVTUTUGSPN+FGGSFZ
    &QTUFJOhTBDDPVOUBU+1.PSHBO
    .3#65540CKFDUJPO:PV
    TIPVMEOPUBOTXFSUPUIFFYUFOUZPVhSF
    SFWFBMJOHBOZUIJOHMFBSOFEGPSN
    DPVOTFM
    5)&8*5/&44*XBTOPUBXBSF
    26&45*0/4#:.44*/(&3
    28IFOEJEZPVGJSTUMFBSOPGUIF
    USBOTGFSUIBU+FGGSFZ&QTUFJONBEFUP
    .3#65544BNFPCKFDUJPOBOE



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    JOTUSVDUJPO
    5)&8*5/&440OMZBGUFSCFJOH
    QSFQBSFEGPSUIJT
    26&45*0/4#:.44*/(&3
    20LBZ5IJTXBTOhUBOE
    ZPVhWFTJODFDPNFUPVOEFSTUBOEUIBU+FGGSFZ
    &QTUFJOEJENBLFBUSBOTGFSUPBXPNBOOBNFE
           BSPVOEUIJTUJNF DPSSFDU
    .3#65540CKFDUJPO
    "OEZPVNBZBTL\TJD^UIBU
    RVFTUJPOCBTFEPOZPVSTUBUFPG
    LOPXMFEHFQSJPSUPTUBSUJOHZPVS
    QSFQBSBUJPOGPSUIJTEFQPTJUJPO
    5)&8*5/&44*EPOPULOPX
    26&45*0/4#:.44*/(&3
    20LBZ
    "*EPOhULOPXJGJUUPPLQMBDF
    PSEJEOhUUBLFQMBDFPS
    2"SFZPVBXBSFPGPUIFS
    USBOTGFSTUIBU+FGGSFZ&QTUFJONBEFUPXPNFO
    GSPNIJT+1.PSHBOBDDPVOUT
    .3#65544BNFPCKFDUJPOBOE
    JOTUSVDUJPO
    5)&8*5/&44*XBTOPUBXBSF





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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    26&45*0/4#:.44*/(&3
    2"OEBUOPQPJOUQSJPSUP
    EJEZPVCFDPNFBXBSFPG+FGGSFZ&QTUFJOhT
    QBZNFOUTUPXPNFOGSPNIJT+1.PSHBOBDDPVOUT
    *TUIBUDPSSFDU
    "*EPOhUSFDBMMCFJOHBXBSF OP
    "OE*EPOhULOPXXIFO*CFDBNFBXBSFPGTPNF
    PGJU TP
    28PVMEZPVFYQFDU JOMJHIUPG
    +FGGSFZ&QTUFJOhTTFYPGGFOTFT UIBU+1.PSHBO
    XPVMEQBZTQFDJBMBUUFOUJPOUPQBZNFOUTIF
    XBTNBLJOHUPXPNFO
    .3#65540CKFDUJPO'PSN
    :PVNBZBOTXFS
    5)&8*5/&44*XPVMEFYQFDUNZ
    FYQFSUTUPSFWJFXXIBUUIFZUIPVHIU
    XBTBQQSPQSJBUFUPSFWJFX
    26&45*0/4#:.44*/(&3
    2"OEEPZPVUIJOLUIBUXPVME
    JODMVEFGPSBTFYPGGFOEFSMJLF+FGGSFZ
    &QTUFJOQBZJOHGPSXPNFOQBZJOHXPNFOBOE
    SFDSVJUFSTGPSTFY UIBUUIBUXPVMEJODMVEF
    SFWJFXPGIJTQBZNFOUTUPXPNFO
    .3#65540CKFDUJPOUPGPSN
    :PVNBZBOTXFS



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    5)&8*5/&44*XPVMEIBWF
    BTLFEUIFNUPNBLFTVSFUIFZEPQSPQFS
    SFWJFXTPGBMMUIJOHT ZFT
    26&45*0/4#:.44*/(&3
    2"OETJUUJOHIFSFUPEBZ EPZPV
    IBWFBOPQJOJPOBTUPXIFUIFSUIBUXPVME
    JODMVEFEPZPVIBWFBWJFXBTUPXIFUIFS
    UIBUXPVMEJODMVEFMPPLJOHBUIJTUSBOTGFST
    PGNPOFZUPXPNFO
    .3#65540CKFDUJPO"OE
    PCKFDUJPOUPGPSN
    :PVNBZBOTXFS
    5)&8*5/&44.ZFYQFDUBUJPO
    XPVMECFUIFZXPVMECFMPPLJOHBU
    UIJOHTMJLFUIBU BNPOHBMMPGUIF
    PUIFSUIJOHTUIFZMPPLFEBU"OE*
    EPOhULOPXJGJUXBTQVUJOGSPOUPG
    UIFHSPVQ*EPOhULOPXJGUIFZTBX
    JU
    26&45*0/4#:.44*/(&3
    2"OEXIFOZPVSFGFSUPHSPVQ
    JOZPVSSFTQPOTF ZPVEPOhULOPXJGUIBUXBT
    QVUJOGSPOUPGUIFHSPVQ XIBUEPZPVNFBO
    CZHSPVQ
    "5IFQFPQMFXIPSFWJFXUIFTF



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    UZQFTPGUIJOHT
    2$PNQMJBODF SFHVMBUPSZ UIF
    CBOLFST
    "(FOFSBMMZ ZFT
    2DPSSFDU
    0LBZ"MMSJHIU0O
    4FQUFNCFS  +FT4UBMFZCFDBNF$&0PG
    +1.PSHBOhTJOWFTUNFOUCBOLJTUIBUSJHIU
    "*hMMBDDFQUUIFEBUFGSPNZPV
    :FBI*EPOhULOPX*EPOhUSFNFNCFSUIF
    FYBDUEBUF
    20LBZ#VUZPVEPSFDBMM
    TPNFXIFSFBSPVOEUIFSF IFCFDBNF$&0PG
    +1.PSHBOhTJOWFTUNFOUCBOL DPSSFDU
    ":FT
    2"OEUIBUXBTBDIBOHFUIBUZPV
    EJSFDUFE .S%JNPO
    ":FT
    28IZEJEZPVXFMM XBTJUB
    QSPNPUJPO
    "*XPVMETBZTP ZFT
    20LBZ"OEXIZEJEZPVEJSFDU
    UIBUDIBOHF
    "*IBEGPSBXIPMFCVODIPG
    SFBTPOT *IBEUPNBLFBDIBOHF*XBOUFEUP



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    XBTIBECFFOBDVTUPNFSPGUIFCBOL
    "*EPOhUSFDBMMTQFDJGJDBMMZ
    2%JETPNFCPEZGSPNUIFCBOLUFMM
    ZPVUIBU
    ".PTUMJLFMZNZHFOFSBMDPVOTFM
    SJHIUUIFSF
    2/PX XIFOZPVGPVOEPVUUIBU
    UIJTQFSTPOIBECFFOBDVTUPNFSPGUIFCBOL
    BOEZPVGPVOEPVUUIBUIFIBECFFOFOHBHFEJO
    UIJTTFYUSBGGJDLJOH EJEZPV JOZPVS
    DBQBDJUZBTDIJFGFYFDVUJWFPGGJDFSBOE
    DIBJSNBOPGUIFCBOL USZUPGJOEPVUXIBU
    UIFGBDUTIBECFFODPODFSOJOHUIFCBOLhT
    SFMBUJPOTIJQUP.S&QTUFJO
    .3#65540CKFDUJPOUPGPSN
    "OEGPSUIFNPNFOU *hMMMFU
    ZPVEPBZFTBZFTPSOPBOTXFSUP
    UIFRVFTUJPO
    5)&8*5/&448IBUJTUIF
    RVFTUJPOBHBJO
    26&45*0/4#:.3#0*&4
    2"GUFSZPVGPVOEPVUUIBU
    +FGGSFZ&QTUFJOFYJTUFE UIBUIFhECFFOBTFY
    USBGGJDLFSBOEIFhECFFOBDVTUPNFSPGUIF
    CBOL EJEZPV JOZPVSDBQBDJUZBT$&0BOE



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    DIBJSNBO XBOUUPGJOEPVUXIBUUIF
    DJSDVNTUBODFTXFSFDPODFSOJOHUIFCBOLhT
    SFMBUJPOTIJQUPUIJTNBO
    .4'3*&%."/$BO*KVTU*
    KVTUXBOUUPNBLFTVSFPGQSJWJMFHF
    5)&8*5/&445IJTJT
    QSJWJMFHFE ZFBI*DBO
    .4'3*&%."/+VTUHJWFNFB
    NJOVUF
    .3#65540LBZ:FBI TPZPV
    TIPVMEOPUSFWFBMBOZUIJOHZPVMFBSOFE
    PSJODPOOFDUJPOXJUI.T'SJFENBO
    IFSTUBGGPSPVUTJEFDPVOTFM
    5)&8*5/&440LBZ8IBU
    .3#0*&43FNFNCFS BMM*
    BTLFEIJNJTXIFUIFSIFXBOUFEUPGJOE
    PVU*UhTBZFTPSOPRVFTUJPO
    .3#65540LBZ*hMMHJWF
    ZPVUIBUZFTPSOP5IBUhTGJOF
    .4'3*&%."/8FhSFGJOF
    5)&8*5/&445IFQSPUPDPM
    XIBU*EJE XBT*BTLFENZHFOFSBM
    DPVOTFMUIFSF EPXIBUZPVHPUUPEP
    %PFWFSZUIJOH
    *UXBTOhUBCPVUXIFUIFS*IBE



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    QFSTPOBMLOPXMFEHF*UXBTBCPVU
    XIFUIFSXF UIFDPNQBOZ XFSFEPJOH
    UIFSJHIUUIJOHT
    .3#65540LBZ
    5)&8*5/&44"OEUIFOBGUFS
    UIBU TIFEJEHJWFNFTPNFPGUIBU
    JOGPSNBUJPO*EJEOhUIBWFCFGPSF
    26&45*0/4#:.3#0*&4
    2*OPSEFSUPEFUFSNJOFXIFUIFS
    UIFDPNQBOZXBT JOZPVSXPSET EPJOHUIF
    SJHIUUIJOH EJEZPV BTDIBJSNBOBOEDIJFG
    FYFDVUJWFPGGJDFS XBOUUPLOPXXIBUUIF
    GBDUTXFSF
    .3#6554%JEZPVXBOUUP
    LOPXXIBUUIFGBDUTXFSF
    5)&8*5/&44%JE*XBOUUP
    LOPX
    *XBOUFEUPLOPXXIBU*TIPVME
    LOPX*EJEOhUTQFOEIPVSTBOEIPVST
    HPJOHUISPVHIUIFGBDUT
    26&45*0/4#:.3#0*&4
    28FMM XIFOZPVTBZZPVXBOUFE
    UPLOPXXIBUZPVTIPVMELOPX XIBUEJEZPV
    UIJOLZPVTIPVMELOPX
    "5IBUUIFDPNQBOZXBTQSPQFSMZ



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    XPSLJOHXJUIMBXFOGPSDFNFOU UIBUXFTIPVME
    MPPLUIBUXFTIPVMENBLFTVSFUIBUJUhTJO
    UIFHFOFSBMDPVOTFMhTDPVSUBOEOPUTPNFXIFSF
    JOUIFCPXFMTPGUIFDPNQBOZ BOEJGUIFSF
    XFSFMFTTPOTMFBSOFE XFTIPVMEEFQMPZUIPTF
    UPP
    20LBZ/PX JOUFSNTPGMFTTPOT
    MFBSOFEBOEEFQMPZJOHUIPTFMFTTPOT EJEZPV
    NBLFBOBUUFNQUUPGJOEPVUXIFUIFSUIFSF
    XFSFMFTTPOTUPIBWFCFFOMFBSOFEGSPNUIJT
    FYQFSJFODFUIBUXPVMEDIBOHFZPVSCVTJOFTT
    QSBDUJDFT
    "8FMM XFhSFTUJMMJOUIF
    QSPDFTTCFDBVTFXFhSFPCWJPVTMZ*hNCFJOH
    EJTUSBDUFEEPJOHUIJTUPEBZ CVU*IBWFOFWFS
    JONZMJGFOPUFYQFSJFODFEBUIJOHXIFSFZPV
    EPOhUMFBSOMFTTPOTBOEUSZUPEPCFUUFSJO
    UIFGVUVSFUIBOZPVEJEJOUIFQBTU
    2*BHSFFXJUIUIBU
    "OEXIBUEJEZPVEPBOE
    BHBJO *hNOPUBTLJOHZPVBCPVUXIBUZPVEJE
    JOUIJTMJUJHBUJPOBOEXIBUZPVEJEGPSUIJT
    MJUJHBUJPO
    *hNTJNQMZBTLJOH XIBUEJEZPV
    EPGPSZPVSCVTJOFTT 8IBUEJEZPVEPBT



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    .3#65540CKFDUJPO"TLFE
    BOEBOTXFSFE
    5)&8*5/&44*XBOUZPVUP
    SFWJFXDPOUSPMTBUCBOLTBSPVOEUIF
    XPSME PUIFSQFPQMF XIBUXFhWFEPOF
    BOEIBWFOhUEPOF CFTUQSBDUJDFT XIBU
    XFhSFBMMPXFEUPEP XIBUXFhSFOPU
    BMMPXFEUPEP"OEXIFOZPVhSFSFBEZ
    4UBDFZ DPNFCBDLUPNFBOEUBMLUPNF
    BCPVUJU)BWFPUIFSQFPQMFJOUIF
    SPPNUIBUXPVMECFIBQQZUPEPJU
    26&45*0/4#:.3#0*&4
    28IFOEJEZPV
    "*UhTDBMMFEEFMFHBUJPO*
    DBOhUEPUIBUNZTFMG
    20LBZ8IFOEJEZPVGJSTUBTL
    ZPVSHFOFSBMDPVOTFMUPCFHJOUIJTQSPKFDUPG
    JEFOUJGZJOHCFTUQSBDUJDFTBOEIPXZPVDPVME
    JNQSPWFDPOUSPMT
    "8FMM XFhWFCFFOEPJOHJUNZ
    XIPMFDBSFFSXIFOJUDPNFTUPNVMUJQMF
    UIJOHT JODMVEJOH".-5IFMBXTDIBOHF UIF
    SFRVJSFNFOUTDIBOHF UIFSFHVMBUJPOTDIBOHF
    "CPVUUIJTQBSUJDVMBSNBUUFS
    "CPVUBOZUIJOHSFMBUJOHUPUIFIVNBO



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    USBGGJDLJOH *UIJOLUIBUDBNFVQCFDBVTFPG
    UIJTDBTF
    2"OEUIJTDBTFXBTGJMFEBGFX
    NPOUITBHPJTUIBUDPSSFDU
    .3#65540CKFDUJPO
    5)&8*5/&44*NFBOUJUDBNF
    VQBTBSFTVMUPGUIF&QTUFJO
    JOEJDUNFOU TVJDJEF
    26&45*0/4#:.3#0*&4
    20LBZ/PX GPDVTJOHPOXIBU
    ZPVEJECFGPSFUIJTMJUJHBUJPOXBTGJMFE
    CFGPSFUIFMJUJHBUJPOXBTGJMFEBHBJOTU$IBTF
    #BOL CFGPSFUIBUMJUJHBUJPOXBTGJMFE XFSF
    ZPVDPODFSOFEUIBUUIFCBOLIBEBOZMFHBM
    MJBCJMJUZGPSXIBUIBQQFOFE
    .3#65540CKFDUJPO
    "OEZPVTIPVMEOPUSFWFBMBOZ
    JOGPSNBUJPOPSWJFXZPVIBECBTFEPO
    EJTDVTTJPOTXJUIDPVOTFM
    .3#0*&45IJTJTTUJMMKVTU
    BZFTPSOPRVFTUJPO
    .3#6554*UXBTOPUBZFTPS
    OPRVFTUJPO:PVBTLFEIJNBCPVU
    DPODFSOBCPVUMFHBMMJBCJMJUZ
    .3#0*&48FMM *TBJEEJEIF



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    JEFOUJGJDBUJPO
    26&45*0/4#:.3#0*&4
    2-FUNFBTLZPVUPMPPLBUB
    EPDVNFOUUIBUIBTCFFOQSFWJPVTMZNBSLFEBT
    &YIJCJU
    "OEUIFFNBJM*hNJOUFSFTUFE
    JOJTUIFFNBJMBUUIFUPQXIJDIJTGSPN
    1BVM.PSSJTUP+FGGSFZ&QTUFJO EBUFE
    +VOF  BUBN
    %PZPVTFFUIBUFNBJM
    ":FT
    2"OEJUhTBTIPSUFNBJM BOE
    *hMMKVTUSFBEJUGPSUIFSFDPSE
    +FGGSFZ TPSSZGPSCFJOHTP
    MJNJUFEPOUIFFNBJMT CVU*HVFTT*hNUPP
    EJTDSFUF"OZXBZ *SFBMMZBQQSFDJBUF
    FWFSZUIJOHZPVhSFEPJOH BOEUIJTJTB
    GBOUBTUJDPQQPSUVOJUZUIBUZPVBSFPQFOJOH
    UIFEPPSUP*CSJFGFEPVS$&0 BOE*UIJOL
    IFXJMMHFUBTFOTFPGUIF-#SFMBUJPOTIJQ
    PWFSUIFXFFLFOE$PNFCBDLUPZPV"4"1 BOE
    UIBOLZPVBHBJO1BVM.PSSJT +1.PSHBO
    QSJWBUFCBOL
    %JE.S&QTUFJOIFMQ+1.PSHBO
    EFWFMPQBSFMBUJPOTIJQXJUI-FPO#MBDL



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&44*EPOhULOPXJG
    UIBUhTXIBU-#SFGFSTUP
    8FhWF*hWFLOPXO-FPO#MBDL
    GPSXBZCFGPSFUIJT BOEUIF
    DPNQBOZIBTCFFOEPJOHCVTJOFTTXJUI
    "QPMMPGPSBMPOHUJNF4PXFEJEOhU
    OFFEIJTJOUSPEVDUJPO
    26&45*0/4#:.3#0*&4
    2:PVLOPX.S#MBDL
    "*EPLOPX.S#MBDL
    2)BWFZPV
    "5IJTDPVMEIBWFCFFO-JNJUFE
    #SBOET BOEUIF$&0XBTVOMJLFMZOPUNF
    XBTMJLFMZOPUNF
    .3#65545IFUFTUJNPOZIBT
    CFFOJUhTOPUZPV
    5)&8*5/&443JHIU
    26&45*0/4#:.3#0*&4
    2%JEZPVFWFSEJTDVTT
    .S&QTUFJOXJUI.S#MBDL
    "/P
    28IFOXBTUIFMBTUUJNFZPV
    UBMLFEUP.S#MBDL



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

     %JNPO&YIJCJUNBSLFEGPS
    JEFOUJGJDBUJPO
    26&45*0/4#:.3#0*&4
    2*hNHPJOHUPBTLZPVUPMPPL
    OFYUBU&YIJCJU
    5IJTJTBOFYDIBOHFPGFNBJMT
    CFUXFFO.S4UBMFZBOE.S&QTUFJOPO
    +VOF 
    .S&QTUFJOXSJUFT.S4UBMFZ
    1FUFSXJMMCFTUBZJOHBUTU4USFFUPWFS
    UIFXFFLFOE%PZPVXBOUUPPSHBOJ[FFJUIFS
    ZPV PSZPVBOE+BNJF RVJFUMZ 6QUPZPV
    %PZPVTFFUIBU
    ":FT
    2%JEZPVNFFUXJUI.S&QTUFJO
    BOEPS.S4UBMFZBUTU4USFFUPWFSUIF
    XFFLFOE
    ""CTPMVUFMZOPU
    2%PZPVLOPXXIBU.S&QTUFJOJT
    SFGFSSJOHUPIFSF
    "*UIJOL*hWFUFTUJGJFENBOZ
    UJNFT *EJEOhULOPX+FGG&QTUFJO*OFWFS
    NFU+FGG&QTUFJO*OFWFSXFOUUPIJTIPVTF
    *OFWFSXFOUUPIJTJTMBOE"OE*EPOPU
    LOPXFYBDUMZXIBUIFhTSFGFSSJOHUPIFSF



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    .BZCF*NFBO *DBOTVSNJTF
    UIBUIFXBOUFE+FTUPJOUSPEVDFNFUPIJN
    JOUSPEVDFNFUPIJN
    2/PX .S4UBMFZSFTQPOETUIF
    OFYUEBZUP.S&QTUFJO TBZJOH +BNJFJTJO
    "TJB*KVTUHPUCBDLGSPN-POEPO BOE*hN
    JO#PTUPO-FUNFXIBUhTVQGPSUIFXFFLFOE
    *G*hNJOUIFDJUZ GPSTVSF
    %PZPVIBWFBOZFYQMBOBUJPOBT
    UPXIZ.S4UBMFZXPVMEXSJUFUIBUFNBJMJG
    ZPVIBEOPDPOUBDUBUBMMXJUI.S&QTUFJO
    .3#65540CKFDUJPO
    .380)-(&.65)0CKFDUJPO
    .3#6554:PVNBZBOTXFS
    5)&8*5/&44*IBWFOPJEFB
     %JNPO&YIJCJUNBSLFEGPS
    JEFOUJGJDBUJPO
    26&45*0/4#:.3#0*&4
    2-FUNFBTLZPVMPPLUPMPPL
    OFYUBUUIFEPDVNFOUUIBUhTCFFOQSFWJPVTMZ
    NBSLFEBT&YIJCJU
    "OEEPZPVLOPXXIP-FTMFZ
    (SPGGJT CZBOZDIBODF
    "/PUUIBU*DBOSFDBMM
    2)BWFZPVTFFOIFSNFOUJPOFEJO



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    DPOOFDUJPOXJUI.S&QTUFJO
    "/P
    2"SFZPVBXBSFPGXIFUIFSPSOPU
    TIFXPSLFEGPS.S&QTUFJO
    "/PQF
    20O'FCSVBSZ  -FTMFZ
    (SPGGXSJUFT.S&QTUFJOPOUIFTVCKFDUPG
    1FUFS +FTBOE+BNJF4IBMM*IBWF-ZOO
    QSFQBSFIFBWZTOBDLTGPSZPVSFWFOJOH
    BQQPJOUNFOUTXJUI1FUFS.BOEFMTPO +FT4UBMFZ
    BOE+BNJF%JNPO 0SJTUIJTUPCFBOJDF
    TJUEPXOEJOOFSBUQN 
    "OE.S&QTUFJOSFQMJFT
    4OBDLT
    %PZPVTFFUIBU
    ":FT
    2%JEZPVJOGBDUIBWFBO
    BQQPJOUNFOUXJUI1FUFS.BOEFMTPO +FT4UBMFZ
    BOE+BNJF%JNPO
    "*IBWFOFWFSIBEBOBQQPJOUNFOU
    XJUI+FGG&QTUFJO*hWFOFWFSNFU+FGG
    &QTUFJO*OFWFSLOFX+FGG&QTUFJO*OFWFS
    XFOUUP+FGG&QTUFJOhTIPVTF*OFWFSIBEB
    NFBMXJUI+FGG&QTUFJO*IBWFOPJEFBXIBU
    UIFZhSFSFGFSSJOHUPIFSF



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    *EJELOPX1FUFS.BOEFMTPO BOE
    PCWJPVTMZ*LOFX+FT
    2%PZPVIBWFBOFYQMBOBUJPOXIZ
    -FTMFZ(SPGGXPVMEIBWFXSJUUFOUIJTFNBJM
    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&44-JLFMZ
    NJTJOGPSNFE/PUMJLFMZ
    .JTJOGPSNFE
    26&45*0/4#:.3#0*&4
    2/PX .S&QTUFJOEPFTOPUXSJUF
    CBDLUPIFSTBZJOH ZPVhSFNJTJOGPSNFE +BNJF
    %JNPOJTOPUDPNJOH
    :PVTFFUIBU
    "*EPOhULOPXXIBUIFUIPVHIUBU
    UIFUJNF)FXBTPCWJPVTMZNJTJOGPSNFE*
    OFWFSUIJTOFWFSUPPLQMBDF
    20LBZ%JE.S&QTUFJOBSSBOHF
    GPSZPVUPNFFUXJUI&IVE#BSBL
    "8IP
    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&448IP
    26&45*0/4#:.3#0*&4
    2&IVE#BSBL



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    "*EPOhUUIJOL+FGG&QTUFJOFWFS
    BSSBOHFEGPSNFUPNFFUXJUIBOZCPEZ UPNZ
    LOPXMFEHF"OE*LOFX&IVE#BSBL8FEJE
    OPUOFFEJOUSPEVDUJPOTUPBOZCPEZ
     %JNPO&YIJCJUNBSLFEGPS
    JEFOUJGJDBUJPO
    26&45*0/4#:.3#0*&4
    2-FUNFBTLZPVUPMPPLBUB
    EPDVNFOUUIBUIBTCFFOQSFWJPVTMZNBSLFEBT
    &YIJCJU
    5IJTJTBTFSJFTPGFNBJMT
    5IFPOFBUUIFCPUUPN +BOVBSZ  BU
    QN TBZT )FMMP3PTB *UIJOL
    NBZIBWFBMSFBEZFNBJMFEZPV CVUXBOUFEUP
    GPMMPXVQKVTUJODBTF+FGGSFZXBTUBMLJOH
    UPNFPOUIFQIPOFBOEUP             XIPXBT
    TUBOEJOHXJUIIJNBUUIFTBNFUJNF TPOPU
    TVSFXIJDIPOFPGVTXBTBDUVBMMZUPFNBJM
    ZPV+FGGSFZSFRVFTUFEUIBUXFHJWFZPVUIF
    DPOUBDUFNBJMGPS&IVE#BSBLTPUIBUZPV
    DPVMEPSHBOJ[FUIFNFFUJOHXJUI+BNJF%JNPO
    BOE#BSBLPOZPVSFOEGPSTJNQMJGJDBUJPO
    "OEUIFO3PTBXSJUFTUP+FT
    4UBMFZ +FT JTJUPLBZGPSNFUPDPOUBDU
    &IVE#BSBLEJSFDUMZUPBSSBOHFBNFFUJOHXJUI



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    *TUIBUOPUSJHIU
    "5IBUhTXIBUJUMJTUT*EPOhU
    LOPXJGJUhTUSVF
     %JNPO&YIJCJUNBSLFEGPS
    JEFOUJGJDBUJPO
    26&45*0/4#:.44*/(&3
    20LBZ8FhSFBMTPHPJOHUPUBLF
    BMPPLBU&YIJCJU +1.4%/:-*5@3
    %PZPVSFDPHOJ[F1SPKFDU+FFQ
    .S%JNPO
    "*EPOPU
    20LBZ4PUIJTEPDVNFOUJT
    IFBEFE1SPKFDU+FFQ$MJFOU3FWJFX0DUPCFS
    
    $PSSFDU
    ":FT
    2"OEIBWFZPVTFFOUIJTEPDVNFOU
    CFGPSF
    "/P
    2"UUIFUPQ
    "/PUUIBU*SFDBMM
    20LBZ"UUIFUPQ JUJOEJDBUFT
    UIBUJUJTSFWJFXJOHUISFFDMJFOU
    SFMBUJPOTIJQTSFMBUFEUP+FGGSFZ&QTUFJO
    NFEJB



(PMLPX-JUJHBUJPO4FSWJDFT                                       1BHF
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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    $PSSFDU
    ":FT
    20LBZ"OEPOFPGUIPTF JGZPV
    MPPLBCPVUBUIJSEPGUIFXBZEPXO JT-FPO
    #MBDL DPSSFDU
    ":FT
    2"OEJGXFUVSOUPUIFTFDPOE
    QBHF #BUFTOVNCFS ZPVDBOTFFUIBUUIF
    -FPO#MBDLSFMBUJPOTIJQBTTFUTBSFWBMVFEBU
    XIFOZPVBEEUIFNUPHFUIFS NJMMJPO
    *TUIBUDPSSFDU
    "5IBUhTXIBUUIJTTBZT
    2"OEEPZPVIBWFBOZJOEFQFOEFOU
    LOPXMFEHFPGUIFWBMVFPG-FPO#MBDLhTBTTFUT
    BU+1.PSHBOJO
    "*EPOhU
    20LBZ:PVDBOQVUUIBUPOF
    BTJEF QMFBTF
    8FTBXPO+1.PSHBOhTQSJWJMFHF
    MPHGPSUIJTEFQPTJUJPOBO0DUPCFS 
    FNBJMUPZPVBCPVU1SPKFDU:FMMPX
    "SFZPVGBNJMJBSXJUI1SPKFDU
    :FMMPX
    "/PUUIBU*SFDBMM
    20LBZ:PVEPOhUIBWFBOZTFOTF



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    "0SXIBUDBNFPVUXJUI&QTUFJO
    CFGPSF
    24PQSJPSUP XFSFZPV
    BXBSFPGFGGPSUTBU+1.PSHBOUPMBVODIB
    EPOPSBEWJTFEGVOEXJUI#JMM(BUFTUISPVHI
    5IF(BUFT'PVOEBUJPO
    "*EPOhU*XBTOPU OP
    20LBZ4P*UBLFJUZPVBMTP
    XFSFOPUBXBSFUIBU+FGGSFZ&QTUFJOQMBZFEB
    SPMFJOUIPTFEJTDVTTJPOT
    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&440I BCTPMVUFMZ*
    XBTOPUBXBSF/PSEPXFOFFE+FGG
    &QTUFJOUPUBMLUP#JMM(BUFT
    26&45*0/4#:.44*/(&3
    28FSFZPVBXBSFUIBU.BSZ&SEPFT
    BOE+FT4UBMFZIBESFHVMBSDPNNVOJDBUJPOT
    XJUI+FGGSFZ&QTUFJOBCPVUUIBUEPOPSBEWJTFE
    GVOE
    "*BNOPX
    .3#65540CKFDUJPO
    26&45*0/4#:.44*/(&3
    2"OEXFSFZPVBXBSFUIBUUIF
    IPQFXBTUIBUEPOPSBEWJTFEGVOEXPVMESFBDI



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    TFF UPNPSSPX 5.3XIBUJTUIFFYUFOUPG
    EBNBHF
    %PZPVIBWFBOZSFDPMMFDUJPOPG
    .BSZ&SEPFTBSSBOHJOHGPSZPVUPJOWJUF#JMM
    (BUFTUPBOFWFOU
    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&44*EPOhUSFDBMM
    UIFTQFDJGJDFWFOU5IBUIBQQFOFE
    UZQJDBMMZ ZFT
    26&45*0/4#:.44*/(&3
    20LBZ%PZPVLOPX"DF
    (SFFOCFSH
    "*EJE)FhTEFBE
    2*TIPVMEIBWFBTLFEJUJOUIF
    QBTUUFOTF*hNTPSSZ
    "OEXIPEJEZPVLOPXIJNUPCF
    "5IFDIBJSNBOPG#FBS4UFBSOT
    "OEUIFOXIFOXFCPVHIU#FBS4UFBSOT IFDBNF
    PWFSBTBOJOWFTUNFOUBEWJTPS
    20LBZ"OEZPVLOPXIJN
    QFSTPOBMMZ PSZPVLOFXIJNQFSTPOBMMZ *
    UBLFJU
    "'PSZFBST
    2*hNTPSSZ



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          $POGJEFOUJBM1VSTVBOUUP1SPUFDUJWF0SEFS

    %JE"DF(SFFOCFSHFWFSUBMLUP
    ZPVBCPVUIJTEFTJSFUIBU+1.PSHBOSFUBJO
    +FGGSFZ&QTUFJOBTBDMJFOUPGUIFCBOL
    ")FEJEOPU
    20LBZ:PVhWFUBMLFEBMJUUMF
    CJUBCPVU+FT4UBMFZhTEFQBSUVSFGSPN
    +1.PSHBOBOEUIFUFSNTBOEUFOPSPGIJT
    EFQBSUVSF
    *TPOFPGUIFSFBTPOTGPS+FT
    4UBMFZhTEFQBSUVSFGSPN+1.PSHBOZPVS
    VOEFSTUBOEJOHUIBU.S4UBMFZIBENBEF
    VOBVUIPSJ[FETUBUFNFOUTUPUIFQSFTTBCPVU
    UIF-POEPO8IBMF
    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&445IBUXBTBQBSU
    PGJU
    26&45*0/4#:.44*/(&3
    2"OEXIBUXFSFUIPTFTUBUFNFOUT
    UPZPVSVOEFSTUBOEJOH
    .3#65540CKFDUJPO
    :PVNBZBOTXFS
    5)&8*5/&44*EPOhUSFDBMM
    TQFDJGJDBMMZUPEBZ





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